CaSe 2:04-cV-02449-.]QB-tmp Document 27 Filed 06/14/0§ Page 1 of 4 Page|D 30

r=u£r:) sr

  

IN THE UNITED sTATEs DISTRICT coURT

FoR THE wEsTERN DISTRICT oF TENNESSEE GSJUHIM
wEsTERN DIvIsIoN

F*T"}F-"<.FPT ;':‘M

`CUPH, d
MD.QFF§

 

DONNA F. REDMON,

Plaintiff,

6?¥?€

vs. Civ. No. 04-%556-Ma P

NORMAN MINETA, SECRETARY U.S.
DEPARTMENT OF TRANSPORTATION,

Defendant.

`_rv\..¢\._p\._r'~..z'~_r\_r-_rv\._¢\~_r

 

AMENDED SCHEDULING ORDER

 

On May 23, 2005, this court granted plaintiff's unopposed
motion to extend all deadlines for ninety days. On June 9, 2005,
the court held a scheduling conference and all parties were present
and heard. The scheduling order is hereby amended as follows:

COMPLETING ALL DISCOVERY: AuguSt 30, 2005
(a) DOCUMENT PRODUCTION: AuguSt 30, 2005

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: August 30, 2005

(C) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: July 29, 2005

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: August 30, 2005

(3) EXPERT WITNESS DEPOSITIONS: Septemb€r 30, 2005

This document entered on the dccket.Sheet fn compi:’anc¢

with Huze 53 and/or 79(3) FRCP on 6 f f§ -» 05

CaSe 2:04-cV-02449-.]QB-tmp Document 27 Filed 06/14/05 Page 2 of 4 Page|D 31

FILING DISPOSITIVE MOTIONS: OCtOber 31, 2005
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery
cutoff date. All motions, requests for admissions, or other
filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the
discovery deadline or within 30 days of the default or the service
of the response, answer, or objection, which is the subject of the
motion, if the default occurs within 30 days of the discovery
deadline, unless the time for filing of such motion is extended for
good cause shown, or the objection. to the default, response,
answer, or objection shall be waived.

This case is set for a jury trial. The pretrial order date,
pretrial conference date, and trial date will be set by the
presiding judge. It is anticipated that the trial will last
approximately four (4) days.

This case is appropriate for ADR. The parties are directed to
engage in court-annexed attorney mediation or private mediation
before the close of discovery.

The parties are reminded that pursuant to Local Rule
ll{a)(l)(A), all motions, except motions pursuant to Fed. R. Civ.
P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in
this matter. Neither party may file an additional reply, however,
without leave of the court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a
reply is required.

At this time, the parties have not given consideration to
whether they wish to consent to trial before the magistrate judge.
The parties will file a written consent form with the court should
they decide to proceed before the magistrate judge.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

CaSe 2:04-cV-O2449-JDB-tmp Document 27 Filed 06/14/05 Page 3 of 4 Page|D 32

IT IS SO ORDERED.

{_//

l

TU `1'\’/1. PHAM
United States Magistrate Judge

j\-’\‘L f z/: Z°@/

Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02449 Was distributed by fax, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Kathleen L. Caldwell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

i\/lemphis7 TN 38104

Harriett Miller Halmon
167 North i\/lain7 Suite 800
i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

